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                                                                        November 29, 2021

                                                                             VPC
                                 UNITED STATES DISTRICT COURT                         JS-6
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA



       EZEKIEL RICHARDSON, an                           CASE NO. 2:21-CV-01256 SB
       individual                                       (PLAx)
                                                        [Assigned to Judge Stanley
                    Plaintiff,                          Blumenfeld, Jr. Courtroom 6C]

             vs.                                       ORDER GRANTING REQUEST
                                                       FOR DISMISSAL WITH
                                                       PREJUDICE PURSUANT TO RULE
       CITY OF LOS ANGELES, a public                   41(a)(1)(A)(ii)
       entity and DOES 1-10, individually and
       in their official capacity as Los Angeles
       Police Officers, inclusive

                       Defendants.



            IT IS HEREBY ORDERED for the reasons set forth in the parties’ stipulation,
      that pursuant to Federal Rules of Civil Procedure Rule 41 (a)(1)(A)(ii) based on the
      parties’ agreement and stipulation that this matter be dismissed with prejudice. Each
      side is to bear its own fees and costs incurred in this matter.

      Dated: November 29, 2021


                                            Stanley Blumenfeld, Jr.
                                            UNITED STATES DISTRICT JUDGE




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                             ORDER FOR DISMISSAL WITH PREJUDICE
